The facts and issues involved in this case are fully set forth in the report of the Judge of Probate for Marion County, to whom the case was referred, as special referee, to determine all the issues of law and of fact. The matter was heard by his Honor, Judge S.W.G. Shipp, on the report of the Judge of Probate, in whose findings of fact and conclusions of law his Honor, Judge Shipp, concurred, and passed the usual order of foreclosure. The decision of the lower Court being adverse to the appellant, he has appealed to this Court.
After careful consideration of the entire record, it is our opinion that the Court below reached a proper conclusion in the case. The judgment, therefore, should be affirmed.
MR. CHIEF JUSTICE WATTS concurs.